Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.149 Filed 02/07/23 Page 1 of 9




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                              Case No. 23-cr-20037
v.
                                              Hon. Paul D. Borman
HASSAN YEHIA CHOKR,

               Defendant.
                                  /

     STIPULATION AND ORDER REGARDING PSYCHIATRIC OR
  PSYCHOLOGICAL EXAMINATION TO DETERMINE DEFENDANT’S
          COMPETENCY FOR FURTHER PROCEEDINGS

         Through their respective counsel, the Government and defendant Hassan

Yehia Chokr stipulate and agree as follows:

         1.    Since early December 2022, the defendant has been in the custody of

the Oakland County Sheriff’s Office, having previously been charged with ethnic

intimidation in Oakland County Circuit Court (“Oakland County case”).

         2.    In the Oakland County case, defense counsel filed a motion for a

competency examination on January 17, 2023, which the court there granted. The

court thereby ordered the defendant to undergo an examination to be conducted by

the Center for Forensic Psychiatry relating to the issue of competency to stand

trial.

         3.    On January 18, 2023, a federal grand jury returned an indictment

charging the defendant with felon in possession of a firearm, in violation of 18
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.150 Filed 02/07/23 Page 2 of 9




U.S.C. § 922(g)(1), and making a false statement during the attempted acquisition

of a firearm, in violation of 18 U.S.C. § 922(a)(g).

         4.   On January 19, 2023, the Court issued a Criminal Scheduling Order

setting a trial date of March 23, 2021, along with other related dates and deadlines.

(ECF No. 19, PageID.108).

         5.   On January 31, 2023, during the defendant’s arraignment on the

indictment in this case, counsel for the defendant requested a competency

evaluation. The Magistrate Judge directed counsel to raise the issue with this

Court.

         6.   Defense counsel has represented the following to counsel for the

government: “Defendant has a history of mental illness whereby Defense Counsel

has been informed from police reports and filings with the probate court that

Defendant has been involuntarily committed by a probate court to a mental health

facility on at least two occasions in Wayne County, and possible other facilities

outside of Michigan. That at least one report by this court’s Pretrial Services states

that Defendant has alleged he was diagnosed by one of his doctors as suffering

from bi-polar disorder and schizophrenia during the pandemic. In addition,

Defendant’s actions during proceedings and statements said to his Defense counsel

have clearly given rise for the request to conduct a mental evaluation. Actions by

Defendant such as “mooning” a Wayne County Circuit Judge, giving a middle
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.151 Filed 02/07/23 Page 3 of 9




finger to a detective, driving to a synagogue and making anti-Semitic statements,

going to a gun store afterwards, in addition of claims by his current defense

counsel that Defendant has accused his own counsel of being ‘bought out by the

Jews and the government,’ are some of the erratic behavior this Defendant has

demonstrated.”

      7.     Based on defense counsel’s representations, the government would

not have opposed the defendant’s anticipated motion for a competency evaluation.

      8.     For the sake of judicial economy, in lieu of the Court appointing,

authorizing, and directing a psychiatrist or psychologist employed by the United

States to examine the mental condition of the defendant pursuant to the Insanity

Defense Reform Act of 1984, 18 U.S.C. §§ 4241(a),(b), 4247(b), the parties move

for the Court to order that the Competency Evaluation being conducted in

connection with the defendant’s Oakland County case be utilized in this case with

the understanding that pursuant to 18 U.S.C. § 4247(c), the report will include:

             a. Defendant’s history and present symptoms, if any;

             b. A description of the psychiatric, psychological or medical tests that

                 were employed and their results;

             c. The name of the examiner and his/her findings as to competency to

                 proceed, as well as the examiner’s opinions as to diagnosis and

                 prognosis; and
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.152 Filed 02/07/23 Page 4 of 9




             d. A determination as to whether defendant presently suffers from a

                mental disease or defect that renders him mentally incompetent to

                the extent that he is unable to understand the nature and

                consequences of the proceedings against him or to assist properly

                in his defense.

      9.     When defense counsel, who also represents the defendant in the

Oakland County case, receives the written report from the examining psychiatrist

or psychologist, he will promptly file the written report with this Court and provide

a copy of the report to the attorney for the government so that a hearing may be

conducted pursuant to 18 U.S.C. § 4247(d) to determine defendant’s competency

to assist with his own defense in further proceedings before the Court at such time

as may be scheduled.

      10.    The period beginning January 31, 2023 and ending with the

conclusion of the competency hearing, see id.§§ 4241(c), 4247(d), which will take

place at a date and time set by the Court after the Court and parties receive the

examiner’s written report, should be deemed excludable delay under the Speedy

Trial Act pursuant to 18 U.S.C. §§ 3161(h)(1)(A) and (h)(1)(F), and the period

beginning the day after the conclusion of the competency hearing and ending with

the Court’s ruling on defendant’s mental competency or with the lapse of 30 days,
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.153 Filed 02/07/23 Page 5 of 9




whichever occurs first, be deemed excludable delay pursuant to 18 U.S.C. §

3161(h)(1)(H).

      11.      If necessary, a new trial date and related other date and deadlines

should be set by the Court following the conclusion of proceedings related to the

defendant’s competency evaluation.

      The parties therefore stipulate and jointly move that the Court find, based on

the information presented in this stipulation, that there is reasonable cause to

believe that the defendant may presently be suffering from a mental disease or

defect rendering defendant mentally incompetent to stand trial.

      The parties further stipulate and jointly move that the Court order that the

Competency Evaluation being conducted in connection with the defendant’s

criminal case in Oakland County case be utilized in this case in accordance with

the parties’ stipulation.

      The parties also stipulate and jointly move that the Court make findings

regarding excludable delay under the Speedy Trial Act as described in this

stipulation.

      IT IS SO STIPULATED.

                            (signatures on following page)
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.154 Filed 02/07/23 Page 6 of 9




s/ Frances Lee Carlson                  s/ Nabih H. Ayad (with consent)
Frances Lee Carlson                    Nabih H. Ayad
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Dated: February 7, 2023
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.155 Filed 02/07/23 Page 7 of 9




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                               Case No. 23-cr-20037
v.
                                               Hon. Paul D. Borman
HASSAN YEHIA CHOKR,

             Defendant.
                                  /

       ORDER REGARDING PSYCHIATRIC OR PSYCHOLOGICAL
     EXAMINATION TO DETERMINE DEFENDANT’S COMPETENCY
                 FOR FURTHER PROCEEDINGS


      The Court has considered the parties’ stipulation regarding a psychiatric or

psychological examination to determine defendant’s competency for further

proceedings. Based on the defense counsel’s representations as described in the

parties’ stipulation, the Court finds that there is reasonable cause to believe that the

defendant may presently be suffering from a mental disease or defect rendering

defendant mentally incompetent to stand trial.

      Accordingly, the Court ORDERS that:

      (1)    In lieu of the Court appointing, authorizing, and directing a

psychiatrist or psychologist employed by the United States to examine the mental

condition of the defendant pursuant to the Insanity Defense Reform Act of 1984,

18 U.S.C. §§ 4241(a),(b), 4247(b), judicial economy warrants using the
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.156 Filed 02/07/23 Page 8 of 9




Competency Evaluation being conducted in connection with the defendant’s

Oakland County Circuit Court case (“Oakland County case”) by the Center for

Forensic Psychiatry for purposes of competency proceedings in this case;

      (2)   Pursuant to 18 U.S.C. § 4247(c), the report shall include:

            a. Defendant’s history and present symptoms, if any;

            b. A description of the psychiatric, psychological or medical tests that

                were employed and their results;

            c. The name of the examiner and his/her findings as to competency to

                proceed, as well as the examiner’s opinions as to diagnosis and

                prognosis; and

            d. A determination as to whether defendant presently suffers from a

                mental disease or defect that renders him mentally incompetent to

                the extent that he is unable to understand the nature and

                consequences of the proceedings against him or to assist properly

                in his defense.

      (3)   Once defense counsel receives the report that is prepared in

connection with the defendant’s Oakland County case, defense counsel shall

promptly submit the report to this Court, with copies provided to counsel for the

government so that a hearing may be conducted pursuant to 18 U.S.C. § 4247(d) to
Case 2:23-cr-20037-JJCG-EAS ECF No. 25, PageID.157 Filed 02/07/23 Page 9 of 9




determine defendant’s competency to assist with his own defense in further

proceedings before the court at such time as may be scheduled;

      (4)    The currently scheduled trial and related other dates and deadlines

will be adjourned until such time proceedings related to the defendant’s

competency evaluation have concluded; and

      (5)    The period beginning January 31, 2023 and ending with the

conclusion of the competency hearing, see id.§§ 4241(c), 4247(d), which will take

place at a date and time set by the Court after the Court and parties receive the

examiner’s written report, should be deemed excludable delay under the Speedy

Trial Act pursuant to 18 U.S.C. §§ 3161(h)(1)(A) and (h)(1)(F), and the period

beginning the day after the conclusion of the competency hearing and ending with

the Court’s ruling on defendant’s mental competency or with the lapse of 30 days,

whichever occurs first, be deemed excludable delay pursuant to 18 U.S.C. §

3161(h)(1)(H).



      IT IS SO ORDERED.



                                       s/Paul D. Borman
                                       Paul D. Borman
                                       United States District Judge

Entered: February 7, 2023
